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           EXHIBIT Y
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 Goins, Jacob

 From:                              Goins, Jacob
 Sent:                              Tuesdl!ly, Januery 16, iW1 S 10:11 AM
 To:                                Andrews, Joel; Linzer, Alexander
 Cc;:                               Collins, Michael; Seda, Antonio
 Subject:                           RE: Harrassment/ Relig ious Observance




 Pertalnlns her roe nt di cus~lon, I am forwardln~ you the below emall.

 Best,
 Jacob

From: Goins, Jacob
Sent: Tuesday, January 16, 2018 10:04 AM
To: Collins, Mlchaei <Mlch11el,Colllns@nyct.com>; Seda, Antonio <Antonlo,Seda@nyct.com>
Cc: Llnzer, Alexander <Alex~nder.Llnxer@nyct.com>
Subject: R~: Harrassmel"lt/ Religlous Obsf.lrvanee

Good morning, SW Alken (M38l91) appeared ~s a "w11lk,ln 11 thl, mornlne. She say~ she is being harassed based on her
req.uest for ii religlous observa nce and said th@t she already has G2 "n the matter. I asked her to forward rne the G2s,
along with an email on her i:;oncen1s. After we review thern, w. will conduct a follow up Interview.

Jacob


Fromi Collins, Michael
Sent: Tuesday, Jnriuuy 16, 2018 9:56 AM
Tt11Seda, An~nlo ~Ao..iQ,~1~~9!®.tl>!!iL~ ➔
Et:! Galti!!, J~CQb ~~0Q,,C.t~in,s..@n1t£S~>
Subj ct: RE; Harrassment/ Rel!glQY~ Ob~twnrncr

Good mor.nlng. I Just spoke to Ms. Alken and thltnked her for brlngln~ this matter to aur attention. She summarized her
conversation with Mr, Goins this n,crnlng, and will provide him with the necess ry materials to continue the process. I
let her know she Is In good hands.

Regards, Mlchael                                                                                                                I
                                                                                                                            I   I
From: Alken, Geneva
Sent: Tuesday, January 16, ZOl.8 .S:53 AM
To: Collins, Mlc:hael ~Mlffi!1SI.Collin~.@nvet~rl)>
Ce: Sed{l 1 Anton io <~r!Qnlq.Sed~~n)'.<:~>
Subject: Harrassment/ Rellglous Observance

Good day Mchael D. Collins, 1 was gi-ven your information by Tom Burke, TSO.


                                     EXHIBIT

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It is very urgent that I speak with you regarding Harrassment and iny 1·eligious observa11ce matter.
At your earliest convenience I can be reached at (34 7) 303~7713.




                                                                                       NVCTA000300
